      Case 2:97-cr-00026-DHB-BWC Document 523 Filed 09/01/05 Page 1 of 5


                         IN THE UNITED STATES COURT OF
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                                                                                   Lj : QI RT Q : APPALS
                                   FOR THE ELEVENTH CIRCUIT
                                                                                       ELEVENTH CiIICLHT

                                                                                       AUG 0 0     5
                                            No. 05-14566-1
                                                                                     THOMAS K, I AHN
                                                                                         CLERK

IN RE : BILLY GUYTON,

                                                                  Petitioner .




                              Application for Leave to File a Second or
                             Successive Motion to Vacate, Set Aside, or
                         Correct Sentence, 28 U .S .C . §§ 2255, 2244(b)(3)(A)




Before     BIRCH , BLACK and PRYOR, Circuit Judges .

BY THE PANEL :

         Pursuant to 28 U .S.C . §§ 2255 and 2244(b)(3)(A), Billy Guyton has filed an application

seeking an order authorizing the district court to consider a second or successive motion to vacate,

set aside, or correct his federal sentence, 28 U .S .C. § 2255 . Such authorization may be granted only

if this Court certifies that the second or successive motion contains a claim involving :

                (1) newly discovered evidence that, if proven and viewed in light of the
         evidence as a whole, would be sufficient to establish by clear and convincing
         evidence that no reasonable factfinder would have found the movant guilty of the
         offense; or

                (2) a new rule of constitutional law, made retroactive to cases on collateral
         review by the Supreme Court, that was previously unavailable .

28 U .S .C . § 2255 . "The court of appeals may authorize the filing of a second or successive

application only ifit determines that the application makes a prima facie showing that the application

satis fi es the requirements of this subsection ." 28 U .S .C . § 2244(b)(3)(C).
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         In his application, Guyton indicates that he wishes to raise the following claims in a second

 or successive § 2255 motion : (1) his Sixth Amendment right to have a jury determine sentencing

 facts and his Fifth Amendment right to have these facts charged in the indictment were violated

 because the district court enhanced his sentence based on certain facts that were not charged in an

 indictment nor proven to a jury or admitted by him, (2) the district court erred in sentencing him

 under a mandatory guidelines regime, and (3) ineffective assistance of counsel in that counsel failed

 to prohibit the district court from enhancing his sentence based on facts not charged in an indictment

 nor proven to a jury or admitted by him . Guyton contends that his claims rely on a new rule of

 constitutional law, citing the U .S. Supreme Court's opinions in Blakely v . Washington, 542 U .S .

 296, 124 S .Ct. 2531, 159 L .Ed.2d 403 (2004) and United States v . Booker, 543 U .S . T, 125 S .Ct.

 738, 160 L .Ed.2d 621 (2005) . Guyton also appears to contend that his claims rely on newly

discovered evidence, in that the government withheld "exculpatory evidence" related to drug

amounts, out-of-court witness statements, and acts of others . Guyton, however, fails to clearly

identify, or otherwise describe, this evidence .

        In Apprendi v . New Jersey , 530 U .S . 466, 490, 120 S .Ct. 2348, 2362-63, 147 L .Ed.2d 435

(2000), the Supreme Court held that " [ojther than the fact of a prior conviction, any fact that

increases the penalty for a crime beyond the prescribed statutory maximum must be submitted to a

jury, and proved beyond a reasonable doubt ." The Court recently revisited that rule in the context

of Washington State's sentencing guideline scheme, clarifying that "the `statutory maximum' for

Apprendi purposes is the maximum sentence a judge may impose solely on the basis of the facts

reflected in the jury verdict or admitted by the defendant ." Blakely , 542 U .S. at 124 S . Ct. at

2537 (citations omitted) . Applying these principles, the Court held that Blakely's sentence violated

the Sixth Amendment. Id. at _.___, 124 S . Ct. at 2534-3 8 .


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        In Booker , the Supreme Court recently found "no distinction of constitutional significance

between the Federal Sentencing Guidelines and the Washington procedures at issue" in Blakeiy . 543

U.S . at , 125 S .Ct. at 749 . Thus, the Court held that the mandatory nature of the Federal

Sentencing Guidelines rendered them incompatible with the Sixth Amendment's guarantee to the

right to a jury trial . Id. at _, 125 S .Ct. at 749-51 . Extending its holding in Blakely to the Federal

Sentencing Guidelines, the Court explicitly reaffirmed its rationale first pronounced in Apprendi that

"[a]ny fact (other than a prior conviction) which is necessary to support a sentence exceeding the

maximum authorized by the facts established by a plea of guilty or a jury verdict must be admitted

by the defendant or proved to a jury beyond a reasonable doubt ." Id . at _____, 125 S .Ct. at 756 .

       Guyton's claims fail to satisfy the statutory criteria. 28 U .S.C . § 2255 . First, we have held

that the Supreme Court has not made Blakely retroactively available on collateral review . In re

Dean, 375 F .3d 1287, 1290 (11th Cir . 2004) . Next, we have recently held that the Supreme Court

has not expressly made Booker retroactively available on collateral review . In re Anderson, 396 F .3d

1336, 1339 (11th Cir . 2005). Last, Guyton's claims do not rely on newly discovered evidence, as

Guyton fails to identify any such evidence .

       Guyton has failed to make a prima facie showing of the existence of either of the grounds set

forth in 28 U.S .C. § 2255 . Accordingly, his application for leave to file a second or successive

motion is DENIED .




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                               United States Court of Appeals
                                                Eleventh Circuit
                                             56 Forsyth Street, N .W .
                                             Atlanta, Georgia 3030 3
Thomas K. Kahn                                                                      [ For rules and forms visit
    Clerk                                                                             -www .cal l .uscourts . gov

                                              August 30, 200 5

          Scott L. Poff
          Clerk, U. S . District Court
          801 GLOUCESTER ST RM 229
          BRUNSWICK GA 31521-7075

          Appeal Number: 05-14566-I
          Case Style : In Re: Billy Guyton
          District Court Number:



        The enclosed order has been entered . No further action will be taken in this matter .

        The district court clerk is requested to acknowledge receipt on the copy of this letter enclosed
        to the clerk.


                                                 Sincerely,

                                                 THOMAS K . KAHN, Clerk

                                                 Reply To: Pamela Allen (404) 335-618 8



        Encl .




                                                                                                 DIS-4 (3-2005)
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Scott L. Poff
Clerk, U . S . District Court
801 GLOUCESTER ST RM 229
BRUNSWICK GA 31521-7075




                                    August 30, 200 5

Appeal Number: 05-14566-I
Case Style : In Re : Billy Guyton
District Court Number :

TO : Scott L. Poff

CC : Billy Guyton (09562-021)

CC : Lisa Godbey Woo d

CC : Administrative File

CC : Administrative File
